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|

EXHIBIT 4
Case 6:21-cv-00694-CEM-DCI Document 4-5 Filed 04/20/21 Page 2 of 6 PagelD 181

BARBARA K. CEGAVSKE

Secretary of State

Commercial Recordings Division
202 N. Carson Street
Carson City, NV 89701

   

 

Telephone (775) 684-5708
Fax (775) 684-7138
KIMBERLE Y P. ERONDI oases 5 North Las Vegas City Hall
Deputy Secretary for OFFICE OF THE 70 North Las Vegas, NV 9050
Commercial Recordings SECRETARY OF STATE Telephone (702) 486-2880
Fax (702) 486-2888
EXHIBIT
4
Certified Copy
4/14/2021 2:41:25 PM
Work Order Number: W2021041401245
Reference Number: 20211384946
Through Date: 4/14/2021 2:41:25 PM
Corporate Name: HARBOR CITY VENTURES LLC

The undersigned filing officer hereby certifies that the attached copies are true and exact
copies of all requested statements and related subsequent documentation filed with the
Secretary of State’s Office, Commercial Recordings Division listed on the attached report.

 

Document Number Description Number of Pages
20140805261-29 Articles of Organization 4

 

 

 

 

 

 

fal an

BARBARA K. CEGAVSKE
Nevada Secretary of State

 

Certified By: Paul Reyes
Certificate Number: B202 104141593809
You may verify this certificate

online at http://www.nyvsos.gov
Case 6:21-cv-00694-CEM-DCI

 

Document 4-5 Filed 04/20/21 Page 3 of 6 PagelD 182

 

 

 

 

 

 

 

ROSS MILLER #050 104*
Secretary of State
204 North Carson Street, Suite 4
Carson City, Nevada 89701-4520
(775) 684-5708
Website: www.nvsos.gov
a = 2 Bi 7 Ni b
Articles of Organization Filed inthe Oficeof | rpg228120143.
® . ape Filing Number
Limited-Liability Company  t¢ oa 20140805261-29
(PURSUANT TO NRS CHAPTER 86) Secretary of State 12/12/2014
(this d State Of Nevada Number of Pages
$ 4

 

 

 

 

USE BLACK INK ONLY - DO NOT HIGHLIGHT

 

 

ABOVE SPACE IS FOR OFFICE USE ONLY

 

1. Name of Limited-

Liability Company:
(must contain approved
limited-liability company

wording; see instructions) |

Check box if a Check box ifa
: Series Limited- Restricted Limited-
: Liability Gompany Liability Company

Cl

 

2. Registered
Agent for Service

of Process: (check
anly one box}

 

 

: : 452 B. SILVERADO RANCH BLVD. STE 520
Mailing Address (it different from street address)

 

3. Dissolution
Date: (optional

Latest date upon which the company is to dissolve (if existence is not perpetual):

 

4, Management:
(required)

x] Manager(s)

(check OR one box)

Company shall be managed by:

ol Member(s)

 

5. Name and
Address of each
Manager or

Managing Member: |

(attach additional page ii
more than 3)

  

?'ROCKLEDGE

 
   

Street Address

 

6. Effective Date
and Time: (optional)

    

Effective Date: Effective Time:

 

7. Name, Address
and Signature of

Organizer: (attach
additional page if more
than 1 organizer)

 

| declare, to the best of my knowledge under penalty of porjury, that the Information contained herein la correct and acknowledge
that pursuant to NRS 239.330, it Is a category C felony to knowingly offer any false or forged instrument for filing In the Office of

X FORTUNE DNA, INC.
Organi izer Signature

LAS VEGAS

 

 

&. Cerilficate of

Acceptance Of fq rere cceennnnssssectananetenneseeetennnatey
Appointment of | XK _roRruve ova, 1c. 20
Registered Agent: | Authorized Signature of Registered Agent or On Behalf of Registered Agent Entity Date

 

! hereby accept appointment as Registered Agent for the above named Entity.

 

 

 

This form must be accompanied by appropriate fees.

Nevada Secretary of State NRS 86 DLLC Articles
Revised: 7-26-13
Case 6:21-cv-00694-CEM-DCI Document 4-5 Filed 04/20/21 Page 4 of 6 PagelD 183

ARTICLES OF ORGANIZATION

LIMITED-LIABILITY COMPANY
(Pursuant to NRS-86)

STATE OF NEVADA

 

 

Article I
NAME OF THE COMPANY

 

The name of the Limited Liability Company organized by these Articles pursuant shall be
HARBOR CITY VENTURES, LLC. Such name shall be used an all relevant public
filings, correspondence, documents, property transfers, and other transactions and
recordings, It is understood that Fietitious Business Names are acceptable, if properly
filed as a DBA.

Article Hl
NEVADA RESIDENT AGENT.

 

Each Limited Liability Company must have a designated Resident Agent in the State of
Nevada for service of legal process. The Resident Agent for this Limited Liahility
Company shall be:

FORTUNE DNA, INC.

Mailing Address: 452 E. Silverado Ranch Blvd., Suite 520, Las Vegas, NV 89183
Physical Address: 452 E, Silverado Ranch Blvd., Suite 520, Las Vegas, NV 89183

Article [TE
BUSINESS PURPOSE. OF. f.THE ¢ COMPANY.

  

The purpose for which the Limited Liability Company is organized under Nevada
Revised Statutes §86 is to engage in any lawful acts or activities for which Limited
Liability Companies may be formed under the laws of the State of Nevada and as may be
further and more specifically outlined in the Operating Agreement of this Limited
Liability Company.

Article [V
MANAGEMENT OF THE COMPANY

   

This Company shall be managed by the Manager. J.P. MARONEY has been named as
Manager of this Company, by consent of the Members, and shall have all powers, duties
and responsibilities as outlined in the Operating Agreement. Only the Manager or
Managing Members can bind the Company, Non-Managing Members have no authority
to bind it,

 
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Article V
COMPANY MAILING ADDRE SS.

 

The Manager, Member or Managing Member shall have the following official Mailing
Address:

Article VE
COMPANY. CONTENUT) ry.

   

Is accordance with the Operating Agreement as approved by the Members, this Company
will continue to do business wpon the death, retirement, resignation, expulsion,
bankruptcy or dissolution of a Member or occurrence of any other event which would
terminate the continued membership of a particular Member in the Company.

 

Article VII

 

NRS 86.155 Perpetual existence of company. Unless otherwise provided in its Articles
of Organization or Operating Agreement, a Limited-Liability Company has perpetual
existence.

Article VII
SERIES CHARACTERISTICS AND REQUIREMENTS

   

In accordance with Nevada law, the Company shall have one or more Series of Members.
The debts or Habilities of each Series are to be enforceable only as against the assets of
that particular Series and not against other Series and not against the Company generally.
All contracts between any Series shall make reference to said provision and shall specify
that transactions are by and between a specific Series and not the Company generally. In
accordance with NRS&86.161(1)(e) the relative rights, powers and duties of the Series will
be set forth in the Operating Agreement of the Company. Under the Operating
Agreement of the Company, each Series shall be separate and distinct from other Series
with separate powers, rights and/or duties with respect to specified property or
obligalions or separate business purposes. In accordance with NRS 86.291(3), the
management of a Series may be vested in a Series Manager(s), who may but need not be
Members, in the manner prescribed by the Operating Agreement of the Company.

 
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ARTICLE IX
ORGANIZER

   

This Company is organized by the undersigned.

DECEMBER 12, 2014

 

ident Agent: FORTUNE DNA, INC. hereby accepts the appointment
the said Limited Liability Company.

  
 

 

DECEMBER 12, 2014

 
